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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    AMENDED STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: December 11, 2012
                                           )    TIME: 9:45 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,       )    COURT: Hon. John A. Mendez
                                           )
15                      Defendants.        )
                                           )
16                                         )
                                           )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Arturo
21   Hernandez, attorney for defendant Alejandro Fletes-Lopez; Kenny
22   Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez; Tim
23   Pori, attorney for defendant Orlando Fletes-Lopez; Christopher
24   Haydn-Myer, attorney for defendant Jesus Sanchez-Lopez; Olaf Hedberg,
25   attorney for defendant German Velazquez; Michael Hansen, attorney for
26   defendant Marcela Santamaria; Dina Santos, attorney for defendant
27   Mauricio Portillo; Gilbert Roque, attorney for defendant Guadalupe
28   Reyes-Ontiveros; Hayes Gable, III, attorney for defendant Diana

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 1   Hernandez-Gonzalez, and Chris Cosca, attorney for Miguel Corona-
 2   Soria, that the previously-scheduled status conference date of
 3   December 11, 2012, be vacated and the matter set for status
 4   conference on January 22, 2013, at 9:45 a.m.
 5        This request is made jointly by the government and defense in
 6   order to permit time for continued preparation, including
 7   investigation, which is currently in progress, and plea negotiations.
 8    The parties agree that the interests of justice served by granting
 9   this continuance outweigh the best interests of the public and the
10   defendant in a speedy trial.      18 U.S.C. § 3161(h)(7)(A).
11        Further, the parties agree and stipulate the ends of justice
12   served by the granting of such a continuance outweigh the best
13   interests of the public and the defendants in a speedy trial and that
14   time within which the trial of this case must be commenced under the
15   Speedy Trial Act should therefore be excluded under 18 U.S.C.
16   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
17   [complex case] and T4 [reasonable time for defense counsel to
18   prepare], from the date of the parties’ stipulation, January 10,
19   2012, to and including February 28, 2012.
20
21   Dated: December 7, 2012                 /s/ Paul Hemesath
                                             Paul Hemesath
22                                           Assistant United States Attorney
                                             Counsel for Plaintiff
23
     Dated: December 7, 2012                 /s/ Michael E. Hansen
24                                           MICHAEL E. HANSEN
                                             Attorney for Defendant
25                                           MARCELA SANTAMARIA
26
     Dated: December 7, 2012                 /s/ Ken Giffard
27                                           KEN GIFFARD
                                             Attorney for Defendant
28                                           IRMA GONZALEZ

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 1
     Dated: December 7, 2012                 /s/ Christopher Haydn-Myer
 2                                           CHRISTOPHER HAYDN-MYER
                                             Attorney for Defendant
 3                                           JESUS SANCHEZ-LOPEZ
 4   Dated: December 7, 2012                 /s/ Arturo Hernandez
                                             ARTURO HERNANDEZ
 5                                           Attorney for Defendant
                                             ALEJANDRO FLETES-LOPEZ
 6
     Dated: December 7, 2012                 /s/ Olaf Hedberg
 7                                           OLAF HEDBERG
                                             Attorney for Defendant
 8                                           GERMAN GONZALEZ VELAZQUEZ
 9   Dated: December 7, 2012                 /s/ Dina Santos
                                             DINA SANTOS
10                                           Attorney for Defendant
                                             MAURICIO PORTILLO
11
     Dated: December 7, 2012                 /s/ Gilbert Roque
12                                           GILBERT ROQUE
                                             Attorney for Defendant
13                                           GUADALUPE REYES-ONTIVEROS
14   Dated: December 7, 2012                 /s/ Hayes Gable, III
                                             HAYES GABLE, III
15                                           Attorney for Defendant
                                             DIANA HERNANDEZ-GONZALEZ
16
     Dated: December 7, 2012                 /s/ Tim Pori
17                                           TIM PORI
                                             Attorney for Defendant
18                                           ORLANDO FLETES-LOPEZ
19
     Dated: December 7, 2012                 /s/ Chris Cosca
20                                           CHRIS COSCA
                                             Attorney for Defendant
21                                           MIGUEL CORONA-SORIA
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                                       O R D E R
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          The Court, having received, read, and considered the stipulation
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     of the parties, and good cause appearing therefrom, adopts the
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     stipulation of the parties in its entirety as its order.              Based on
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     the stipulation of the parties and the recitation of facts contained
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     therein, the Court finds that it is unreasonable to expect adequate
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     preparation for pretrial proceedings and trial itself within the time
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     limits established in 18 U.S.C. section 3161.         In addition, the Court
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     specifically finds that the failure to grant a continuance in this
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     case would deny defense counsel to this stipulation reasonable time
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     necessary for effective preparation, taking into account the exercise
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     of due diligence.    The Court finds that the ends of justice to be
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     served by granting the requested continuance outweigh the best
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     interests of the public and the defendants in a speedy trial.
15
          The Court orders that the time from December 7, 2012, to and
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     including January 22, 2013, shall be excluded from computation of
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     time within which the trial of this case must be commenced under the
18
     Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(A) and
19
     (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable time
20
     for defense counsel to prepare].      It is further ordered that the
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     December 7, 2012, status conference shall be continued until January
22
     22, 2013, at 9:45 a.m.
23
24   Dated: 12/10/2012                       /s/ John A. Mendez
                                             Hon. John A. Mendez
25                                           United States District Court Judge
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